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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                           18 Civ. 5800 (CM) (KNF)
                v.

 THE WALT DISNEY COMPANY, and
 TWENTY-FIRST CENTURY FOX, INC.,

                        Defendants.



  PLAINTIFF UNITED STATES’ MOTION AND MEMORANDUM IN SUPPORT OF
        LIFTING THE STAY AND ENTERING THE FINAL JUDGMENT

       Plaintiff United States of America (“United States” or “Antitrust Division”) moves the

Court to lift the stay and enter the proposed Final Judgment. The United States filed the proposed

Final Judgment in this civil antitrust proceeding on June 27, 2018 (ECF No. 3-1) (Exhibit A). On

August 24, 2018, the Parties filed a letter motion to stay further proceedings pending the

resolution of the procedure required by the Antitrust Procedures and Penalties Act, 15 U.S.C.

§ 16(b)–(h) (“APPA” or “Tunney Act”), which the Court entered the same day. The United

States is filing simultaneously with this motion a Certificate of Compliance, attached hereto as

Exhibit B, setting forth the steps taken by the Parties to comply with all applicable provisions of

the APPA and certifying that the sixty-day statutory public comment period has expired.

       The proposed Final Judgment may be entered without further proceedings if the Court

determines that entry is in the public interest. 15 U.S.C. § 16(e). The Competitive Impact

Statement (“CIS”) and Response to Public Comment filed in this matter on August 7, 2018 (ECF

No. 21) and April 5, 2019 (ECF No. 33), respectively, explain why entry of the proposed Final
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Judgment is in the public interest. Therefore, the United States respectfully requests that the

Court lift the stay and enter the proposed Final Judgment.

I.     BACKGROUND

       On June 27, 2018, the United States filed a civil antitrust Complaint, alleging that the

proposed acquisition by The Walt Disney Company (“Disney”) of certain assets of Twenty-First

Century Fox, Inc. (the “Fox Sale Assets”) likely would substantially lessen competition in the

licensing of cable sports programming to multichannel video programming distributors

(“MVPDs”) in twenty-five Designated Market Areas (“DMAs”) in violation of Section 7 of the

Clayton Act, 15 U.S.C. § 18.

       At the same time the Complaint was filed, the United States also filed a proposed Final

Judgment (ECF No. 3-1) and Hold Separate Stipulation and Order (ECF No. 3-2) signed by

Plaintiff and Defendants consenting to entry of the Final Judgment after compliance with the

requirements of the Tunney Act, 15 U.S.C. § 16. On August 7, 2018, the United States filed a

CIS describing the transaction and the proposed Final Judgment. ECF No. 21. The proposed

Final Judgment requires Disney to divest twenty-two regional sports networks (“RSNs”) to

remedy the anticompetitive effects of the transaction. Exhibit A at Section II.E, IV.A.

       Section IV.A of the proposed Final Judgment requires the divestitures to be made within

ninety (90) calendar days after closing of the Transaction, or five (5) calendar days after notice

of entry of the Final Judgment, whichever is later, to one or more buyers acceptable to the United

States in its sole discretion. The Hold Separate Stipulation and Order, which was entered by the

Court on September 27, 2018 (ECF No. 28), ensured that the RSNs were maintained as

economically viable, and ongoing business concerns independent of and uninfluenced by

Defendants, and that competition was maintained during the pendency of the ordered
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divestitures. Defendant Disney consummated its acquisition of the Fox Sale Assets on March 20,

2019. Disney then reached agreements with two entities to acquire the Divestiture Assets:

Diamond Sports Group, LLC and Red Seam Holdings LLC.

        On May 6, 2019, Disney notified the United States that it had entered an agreement with

Diamond Sports Group, a subsidiary of Sinclair Broadcast Group, Inc., to acquire all of the

RSNs, except the New York Yankees-affiliated YES Network. On June 12, 2019, Disney

informed the United States that it had reached an agreement with Red Seam Holdings, an entity

whose members include Yankees Global Enterprises, LLC, Sinclair Broadcast Group, Inc.,

Amazon.com Services, Inc., and their financial partners, to acquire the YES Network.

        The Antitrust Division investigated both proposed divestitures pursuant to the established

policy as described in the Response to Public Comment. Based on its investigations, the Antitrust

Division did not find that the divestitures would result in competitive harm. Additionally, the

Antitrust Division found that both proposed Acquirers have the incentive to use the RSNs to

compete in all affected markets and that they have sufficient business experience and financial

capabilities to compete effectively in the affected markets over the long term.

        On August 21, 2019, the United States approved Diamond Sports Group as the Acquirer

for all of the RSNs, except for the YES Network. 1 Disney and Diamond Sports Group

consummated the divestiture on August 23, 2019. On August 26, 2019, the United States




1
 The United States approved Diamond Sports Group to acquire the following RSNs: (1) Fox Sports Arizona; (2)
Fox Sports Carolinas; (3) Fox Sports Detroit; (4) Fox Sports Florida; (5) Fox Sports Indiana; (6) Fox Sports Kansas
City; (7) Fox Sports Midwest; (8) Fox Sports New Orleans; (9) Fox Sports North; (10) Fox Sports Ohio; (11)
SportsTime Ohio; (12) Fox Sports Oklahoma; (13) Fox Sports San Diego; (14) Fox Sports South; (15) Fox Sports
Southeast; (16) Fox Sports Southwest; (17) Fox Sports Sun; (18) Fox Sports Tennessee; (19) Fox Sports West; (20)
Prime Ticket; and (21) Fox Sports Wisconsin.
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approved the divestiture of the YES Network to Red Seam Holdings. Disney and Red Seam

Holdings consummated the divestiture on August 29, 2019.

       Section IV.A of the Hold Separate Stipulation and Order provides that the proposed Final

Judgment may be entered by the Court after the completion of the procedures required by the

APPA. Entry of the proposed Final Judgment would terminate this action, except that the Court

retains jurisdiction to construe, modify, or enforce the provisions of the Final Judgment and to

punish violations thereof. Exhibit A at Section XII.

II.    COMPLIANCE WITH THE APPA

       The APPA requires a sixty-day period for the submission of written comments relating to

the proposed Final Judgment. 15 U.S.C. § 16(b). In compliance with the APPA, the United

States filed the proposed Final Judgment and a CIS with the Court on June 27, 2018 and August

7, 2018, respectively; published the proposed Final Judgment and CIS in the Federal Register on

August 15, 2018 (see 83 Fed. Reg. 40,553 (2018)); and ensured that the summary of the terms of

the proposed Final Judgment and the CIS—with directions for the submission of written

comments relating to the proposed Final Judgment and CIS—were published in The Washington

Post and The New York Times for seven days during the period of August 13 to August 19, 2018.

The sixty-day public comment period terminated on October 18, 2018, and the United States

received one comment concerning the allegations in the Complaint. The United States filed a

Response to Public Comment on April 5, 2019, addressing the substance of the comment, and

published the Response to Public Comment and the public comment in the Federal Register on

April 25, 2019 (see 84 Fed. Reg. 17,425 (2019)).

       The United States has filed a Certificate of Compliance simultaneously with the Motion

and Memorandum stating that all APPA requirements have been satisfied. See Exhibit B. It is
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therefore appropriate for the Court to lift the stay of proceedings, so that the Court may make the

public interest determination required by 15 U.S.C. § 16(e) and enter the proposed Final

Judgment.

III.   STANDARD OF JUDICIAL REVIEW

       Before entering the proposed Final Judgment, the APPA requires the Court to determine

whether the proposed Final Judgment “is in the public interest.” 15 U.S.C. § 16(e)(1). In making

that determination, the Court shall consider:

       (A)     the competitive impact of such judgment, including termination of alleged

               violations, provisions for enforcement and modification, duration of relief

               sought, anticipated effects of alternative remedies actually considered,

               whether its terms are ambiguous, and any other competitive considerations

               bearing upon the adequacy of such judgment that the court deems

               necessary to a determination of whether the consent judgment is in the

               public interest; and

       (B)     the impact of entry of such judgment upon competition in the relevant

               market or markets, upon the public generally and individuals alleging

               specific injury from the violations set forth in the complaint including

               consideration of the public benefit, if any, to be derived from a

               determination of the issues at trial.

15 U.S.C. § 16(e)(1)(A), (B).

       The Court can make the public-interest determination based on the CIS and Response to

Public Comment alone. Section 16(e)(2) of the APPA states that “[n]othing in this section shall



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be construed to require the court to conduct an evidentiary hearing or to require the court to

permit anyone to intervene.”

       In the CIS and its Response to Public Comment, the United States set forth the public

interest standard under the APPA and now incorporates those statements herein by reference.

The public, including affected competitors and customers, has had the opportunity to comment

on the proposed Final Judgment. As explained in the CIS and Response to Public Comment,

entry of the proposed Final Judgment is in the public interest.

IV.    CONCLUSION

       For the reasons set forth in this Motion and Memorandum, the CIS, and the Response to

Public Comment, the Court should find the proposed Final Judgment is in the public interest and

should enter the proposed Final Judgment without further proceedings. Plaintiff United States

respectfully requests that the proposed Final Judgment be entered at this time.




Dated: September 4, 2019
                                                      Respectfully submitted,



                                                       /s/ Lauren G.S. Riker
                                                      Lauren G.S. Riker
                                                      United States Department of Justice
                                                      Antitrust Division
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                                                      Washington, D.C. 20530
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                                                      Counsel for the United States


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United States v. The Walt Disney Company et al., 18 Civ. 5800 (CM) (KNF)

                     Exhibit A
              Proposed Final Judgment
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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,

                         Plaintiff,
                                                              18 Civ. 5800 (CM) (KNF)
                  v.

 THE WALT DISNEY COMPANY, and
 TWENTY-FIRST CENTURY FOX, INC.,

                         Defendants.



                               PROPOSED FINAL JUDGMENT

          WHEREAS, Plaintiff, the United States of America, filed its Complaint on June 27,

2018, and defendant The Walt Disney Company (“Disney”) and defendant Twenty-First Century

Fox, Inc. (“Fox”), by their respective attorneys, have consented to the entry of this Final

Judgment without trial or adjudication of any issue of fact or law, and without this Final

Judgment constituting any evidence against or admission by any party regarding any issue of fact

or law;

          AND WHEREAS, defendants agree to be bound by the provisions of this Final Judgment

pending its approval by the Court;

          AND WHEREAS, the essence of this Final Judgment is the prompt and certain

divestiture of certain rights or assets by Disney to assure that competition is not substantially

lessened;

          AND WHEREAS, the United States requires Disney to make certain divestitures for the

purpose of remedying the loss of competition alleged in the Complaint;
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          AND WHEREAS, Disney has represented to the United States that the divestitures

required below can and will be made and that defendants will later raise no claim of hardship or

difficulty as grounds for asking the Court to modify any of the divestiture provisions contained

below;

          NOW THEREFORE, before any testimony is taken, without trial or adjudication of any

issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED, AND

DECREED:

                                          I. JURISDICTION

          This Court has jurisdiction over the subject matter of, and each of the parties to, this

action. The Complaint states a claim upon which relief may be granted against defendants under

Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18.

                                          II. DEFINITIONS

          As used in this Final Judgment:

          A.     “Disney” means defendant The Walt Disney Company, a Delaware corporation

headquartered in Burbank, California, its successors and assigns, and its subsidiaries, divisions,

groups, affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents,

and employees.

          B.     “Fox” means defendant Twenty-First Century Fox, Inc., a Delaware corporation

headquartered in New York, New York, its successors and assigns, and its subsidiaries,

divisions, groups, affiliates, partnerships, and joint ventures, and their directors, officers,

managers, agents, and employees.

          C.     “Acquirer” means an entity to which defendants divest any of the Divestiture

Assets.




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      D.     “Fox RSNs” means all of Fox’s interests in the following video networks or

programming assets:

             (1) Fox Sports Arizona;

             (2) Fox Sports Carolinas;

             (3) Fox Sports Detroit;

             (4) Fox Sports Florida;

             (5) Fox Sports Indiana;

             (6) Fox Sports Kansas City;

             (7) Fox Sports Midwest;

             (8) Fox Sports New Orleans;

             (9) Fox Sports North;

             (10) Fox Sports Ohio;

             (11) SportsTime Ohio;

             (12) Fox Sports Oklahoma;

             (13) Fox Sports San Diego;

             (14) Fox Sports South;

             (15) Fox Sports Southeast;

             (16) Fox Sports Southwest;

             (17) Fox Sports Sun;

             (18) Fox Sports Tennessee;

             (19) Fox Sports West;

             (20) Prime Ticket;

             (21) Fox Sports Wisconsin; and




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               (22) the YES Network.

       E.      “Divestiture Assets” means all of Fox’s interests in the Fox RSNs, including all of

the assets, tangible or intangible, necessary for the operations of the Fox RSNs as viable,

ongoing video networks or programming assets, including, but not limited to, all real property

(owned or leased), all broadcast equipment, office furniture, fixtures, materials, supplies, and

other tangible property; all licenses, permits and authorizations issued by any governmental

organization relating to the operation of the asset; all contracts (including content, programming

and distribution contracts and rights), agreements (including transition services agreements),

leases, and commitments and understanding of defendants; all trademarks, service marks, trade

names, copyrights, patents, slogans, programming materials, and promotional materials relating

to each video network; all customer lists, contracts, accounts, credit records, and all logs and

other records maintained by Fox in connection with each video network. Except as set forth in

Paragraph IV(H) of this Final Judgment, Divestiture Assets do not include trademarks, trade

names, service marks, or service names containing the name “Fox.”

       F.      The term “Transaction” means the transaction that is the subject of the Agreement

and Plan of Merger among Twenty-First Century Fox, Inc., The Walt Disney Company, TWDC

Holdco 613 corp., WDC Merger Enterprises II Corp., and WDC Merger Enterprises I, LLC,

dated June 20, 2018.

                                      III. APPLICABILITY

       A.      This Final Judgment applies to Disney and Fox, as defined above, and all other

persons in active concert or participation with any of them who receive actual notice of this Final

Judgment by personal service or otherwise.




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       B.      If, after the closing and prior to complying with Section IV and Section V of this

Final Judgment, Disney sells or otherwise disposes of all or substantially all of the assets or

lesser business units that include the Divestiture Assets, it shall require the purchaser to be bound

by the provisions of this Final Judgment. Disney need not obtain such an agreement from the

Acquirer(s) of the assets divested pursuant to this Final Judgment.

                                      IV. DIVESTITURES

       A.      Disney is ordered and directed, within ninety (90) calendar days after the closing

of the Transaction, or five (5) calendar days after notice of entry of this Final Judgment by the

Court, whichever is later, to divest the Divestiture Assets in a manner consistent with this Final

Judgment to one or more Acquirers acceptable to the United States, in its sole discretion. The

United States, in its sole discretion, may agree to one or more extensions of this time period not

to exceed ninety (90) calendar days in total, and shall notify the Court in such circumstances.

With respect to divestiture of the Divestiture Assets by Disney or a trustee appointed pursuant to

Section V of this Final Judgment, Disney agrees to use its best efforts to divest the Divestiture

Assets as expeditiously as possible after the closing of the Transaction. For the avoidance of

doubt, nothing in this Final Judgment shall require Fox to divest any of the Divestiture Assets

prior to the closing of the Transaction.

       B.      In accomplishing the divestiture ordered by this Final Judgment, Disney promptly

shall make known, by usual and customary means, the availability of the Divestiture Assets.

Disney shall inform any person making an inquiry regarding a possible purchase of the

Divestiture Assets that they are being divested pursuant to this Final Judgment and provide that

person with a copy of this Final Judgment. Defendants shall offer to furnish to all prospective

Acquirers, subject to customary confidentiality assurances, all information and documents




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relating to the Divestiture Assets customarily provided in a due diligence process, except such

information or documents subject to the attorney-client privilege or work-product doctrine.

Defendants shall make available such information to the United States at the same time that such

information is made available to any other person.

       C.      Defendants shall provide the Acquirer(s) and the United States information

relating to the personnel involved in the production and operation of the Divestiture Assets to

enable the Acquirer(s) to make offers of employment. Defendants will not interfere with any

negotiations by the Acquirer(s) to employ upon closing of the sale of each of the Divestiture

Assets any defendant employee whose primary responsibility is the production and operation of

the Divestiture Assets.

       D.      Defendants shall permit the prospective Acquirer(s) of the Divestiture Assets to

have reasonable access to personnel and to make inspections of the Divestiture Assets; access to

any and all environmental, zoning, and other permit documents and information; and access to

any and all financial, operational, or other documents and information customarily provided as

part of a due diligence process.

       E.      Disney shall warrant to the Acquirer(s) that each Divestiture Asset will be

operational on the date of sale.

       F.      Defendants shall not take any action that will impede in any way the permitting,

operation, or divestiture of the Divestiture Assets.

       G.      Disney shall warrant to the Acquirer(s) (1) that there are no material defects in the

environmental, zoning, or other permits pertaining to the operation of each Divestiture Asset, and

(2) that following the sale of the Divestiture Assets, Disney will not undertake, directly or




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indirectly, any challenges to the environmental, zoning, or other permits relating to the operation

of the Divestiture Assets.

       H.      Notwithstanding Paragraph II(E), that the Divestiture Assets do not include

trademarks, trade names, service marks, or service names containing the name “Fox,” the

defendants shall offer any Acquirer(s) of a Fox RSN a non-exclusive royalty-free license for use

of the “Fox” trademark consistent with that RSN’s current usage of that trademark for a time

period of at least eighteen (18) months.

       I.      At the option of Acquirer(s), on or before the closing date of any divestiture,

Disney shall enter into one or more transition services agreements, approved in advance by the

United States in its sole discretion, to provide any transition services reasonably necessary to

operate any Divestiture Assets as viable, ongoing video networks or programming assets.

       J.      Unless the United States otherwise consents in writing, the divestitures pursuant

to Section IV, or by trustee appointed pursuant to Section V of this Final Judgment, shall include

the entire Divestiture Assets and be accomplished in such a way as to satisfy the United States, in

its sole discretion, that the Divestiture Assets can and will be used by the Acquirer(s) as part of a

viable, ongoing business of selling, supplying, or licensing video programming. Divestiture of

the Divestiture Assets may be made to one or more Acquirers, provided that in each instance it is

demonstrated to the sole satisfaction of the United States that the Divestiture Assets will remain

viable, and the divestiture of such assets will achieve the purposes of this Final Judgment and

remedy the competitive harm alleged in the Complaint. The divestitures, whether pursuant to

Section IV or Section V of this Final Judgment:

               (1) shall be made to an Acquirer(s) that, in the United States’ sole judgment, has

                   the intent and capability (including the necessary managerial, operational,




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                   technical, and financial capability) of competing effectively in the business of

                   selling, supplying, and licensing video programming; and

               (2) shall be accomplished so as to satisfy the United States, in its sole discretion,

                   that none of the terms of any agreement between the Acquirer(s) and

                   defendants gives defendants the ability unreasonably to raise the costs of the

                   Acquirer(s), to lower the efficiency of the Acquirer(s), or otherwise to

                   interfere in the ability of the Acquirer(s) to compete effectively.

                              V. APPOINTMENT OF TRUSTEE

       A.      If Disney has not divested the Divestiture Assets within the time period specified

in Section IV(A), Disney shall notify the United States of that fact in writing, specifically

identifying the Divestiture Assets that have not been divested (the “relevant Divestiture Assets”).

Upon application of the United States, the Court shall appoint a trustee selected by the United

States and approved by the Court to effect the divestiture of the relevant Divestiture Assets.

       B.      After the appointment of a trustee becomes effective, only the trustee shall have

the right to sell the relevant Divestiture Assets. The trustee shall have the power and authority to

accomplish the divestiture to an Acquirer acceptable to the United States at such price and on

such terms as are then obtainable upon reasonable effort by the trustee, subject to the provisions

of Sections IV, V, and VI of this Final Judgment, and shall have such other powers as this Court

deems appropriate. Subject to Section V(D) of this Final Judgment, the trustee may hire at the

cost and expense of Disney any investment bankers, attorneys, or other agents, who shall be

solely accountable to the trustee, reasonably necessary in the trustee’s judgment to assist in the

divestiture. Any such investment bankers, attorneys, or other agents shall serve on such terms




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and conditions as the United States approves, including confidentiality requirements and conflict

of interest certifications.

        C.      Defendants shall not object to a sale by the trustee on any ground other than the

trustee’s malfeasance. Any such objections by defendants must be conveyed in writing to the

United States and the trustee within ten (10) calendar days after the trustee has provided the

notice required under Section VI.

         D.      The trustee shall serve at the cost and expense of Disney pursuant to a written

agreement, on such terms and conditions as the United States approves, including

confidentiality requirements and conflict of interest certifications. The trustee shall account for

all monies derived from the sale of the relevant Divestiture Assets and all costs and expenses so

incurred. After approval by the Court of the trustee’s accounting, including fees for its services

yet unpaid and those of any professionals and agents retained by the trustee, all remaining

money shall be paid to Disney and the trust shall then be terminated. The compensation of the

trustee and any professionals and agents retained by the trustee shall be reasonable in light of

the value of the relevant Divestiture Assets and based on a fee arrangement providing the

trustee with an incentive based on the price and terms of the divestiture and the speed with

which it is accomplished, but timeliness is paramount. If the trustee and Disney are unable to

reach agreement on the trustee’s or any agents’ or consultants’ compensation or other terms and

conditions of engagement within 14 calendar days of appointment of the trustee, the United

States may, in its sole discretion, take appropriate action, including making a recommendation

to the Court. The trustee shall, within three (3) business days of hiring any other professionals

or agents, provide written notice of such hiring and the rate of compensation to defendants and

the United States.




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       E.      Disney shall use its best efforts to assist the trustee in accomplishing the required

divestiture. The trustee and any consultants, accountants, attorneys, and other agents retained by

the trustee shall have full and complete access to the personnel, books, records, and facilities of

the business to be divested, and Disney shall develop financial and other information relevant to

such business as the trustee may reasonably request, subject to reasonable protection for trade

secret or other confidential research, development, or commercial information or any applicable

privileges. Defendants shall take no action to interfere with or to impede the trustee’s

accomplishment of the divestiture.

       F.      After its appointment, the trustee shall file monthly reports with the United States

and, as appropriate, the Court setting forth the trustee’s efforts to accomplish the divestitures

ordered under this Final Judgment. To the extent such reports contain information that the

trustee deems confidential, such reports shall not be filed in the public docket of the Court. The

trustee’s reports shall include the name, address, and telephone number of each person who,

during the preceding month, made an offer to acquire, expressed an interest in acquiring, entered

into negotiations to acquire, or was contacted or made an inquiry about acquiring, any interest in

the Divestiture Assets, and shall describe in detail each contact with any such person. The

trustee shall maintain full records of all efforts made to divest the relevant Divestiture Assets.

       G.      If the trustee has not accomplished the divestitures ordered under this Final

Judgment within six (6) months after its appointment, the trustee shall promptly file with the

Court a report setting forth (1) the trustee’s efforts to accomplish the required divestiture, (2) the

reasons, in the trustee’s judgment, why the required divestiture has not been accomplished, and

(3) the trustee’s recommendations. To the extent such report contains information that the

trustee deems confidential, such report shall not be filed in the public docket of the Court. The




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trustee shall at the same time furnish such report to the United States which shall have the right

to make additional recommendations consistent with the purpose of the trust. The Court

thereafter shall enter such orders as it shall deem appropriate to carry out the purpose of the Final

Judgment, which may, if necessary, include extending the trust and the term of the trustee’s

appointment by a period requested by the United States.

        H.      If the United States determines that the trustee has ceased to act or failed to act

diligently or in a reasonably cost-effective manner, it may recommend the Court appoint a

substitute trustee.

                            VI. NOTICE OF PROPOSED DIVESTITURE

        A.      Within two (2) business days following execution of a definitive divestiture

agreement, Disney or the trustee, whichever is then responsible for effecting the divestitures

required herein, shall notify the United States of any proposed divestiture required by Section IV

or Section V of this Final Judgment. If the trustee is responsible, it shall similarly notify

defendants. The notice shall set forth the details of the proposed divestiture and list the name,

address, and telephone number of each person not previously identified who offered or expressed

an interest in or desire to acquire any ownership interest in the Divestiture Assets, together with

full details of the same.

        B.      Within fifteen (15) calendar days of receipt by the United States of such notice,

the United States may request from defendants, the proposed Acquirer, any other third party, or

the trustee, if applicable, additional information concerning the proposed divestiture, the

proposed Acquirer, and any other potential Acquirers. Defendants and the trustee shall furnish

any additional information requested within fifteen (15) calendar days of the receipt of the

request, unless the parties shall otherwise agree.




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       C.      Within thirty (30) calendar days after receipt of the notice or within twenty (20)

calendar days after the United States has been provided the additional information requested

from defendants, the proposed Acquirer(s), any third party, and the trustee, whichever is later,

the United States shall provide written notice to defendants and the trustee, if there is one, stating

whether or not it objects to the proposed divestiture. If the United States provides written notice

that it does not object, the divestiture may be consummated, subject only to defendants’ limited

right to object to the sale under Paragraph V(C) of this Final Judgment. Absent written notice

that the United States does not object to the proposed Acquirer(s) or upon objection by the

United States, a divestiture proposed under Section IV or Section V shall not be consummated.

Upon objection by defendants under Paragraph V(C), a divestiture proposed under Section V

shall not be consummated unless approved by the Court.

                                        VII. FINANCING

       Disney shall not finance all or any part of any purchase made pursuant to Section IV

or Section V of this Final Judgment.

                                    VIII. HOLD SEPARATE

       Until the divestitures required by this Final Judgment have been accomplished,

defendants shall take all steps necessary to comply with the Hold Separate Stipulation and Order

entered by this Court. After the Transaction has been consummated or closed, defendants shall

take no action that would jeopardize the divestiture ordered by this Court.

                                         IX. AFFIDAVITS

       A.      Within twenty (20) calendar days of the filing of the Complaint in this matter, and

every thirty (30) calendar days thereafter until the divestiture has been completed under

Section IV or Section V of this Final Judgment, defendants shall deliver to the United States an




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affidavit, signed by each defendant’s Chief Financial Officer and General Counsel, which shall

describe the fact and manner of defendant’s compliance with Section IV or Section V of this

Final Judgment. Each such affidavit shall include the name, address, and telephone number of

each person who, during the preceding thirty (30) calendar days, made an offer to acquire,

expressed an interest in acquiring, entered into negotiations to acquire, or was contacted or made

an inquiry about acquiring, any interest in the Divestiture Assets, and shall describe in detail

each contact with any such person during that period. Each such affidavit shall also include a

description of the efforts defendants have taken to solicit buyers for and complete the sale of the

Divestiture Assets, including efforts to secure regulatory approvals, and to provide required

information to prospective Acquirers, including the limitations, if any, on such information.

Assuming the information set forth in the affidavit is true and complete, any objection by the

United States to information provided by defendants, including limitations on information, shall

be made within fourteen (14) calendar days of receipt of such affidavit.

       B.      Within twenty (20) calendar days of the filing of the Complaint in this matter,

defendants shall deliver to the United States an affidavit that describes in reasonable detail all

actions defendants have taken and all steps defendants have implemented on an ongoing basis to

comply with Section VIII of this Final Judgment. Defendants shall deliver to the United States

an affidavit describing any changes to the efforts and actions outlined in defendant’s earlier

affidavits filed pursuant to this section within fifteen (15) calendar days after the change is

implemented.

       C.      Defendants shall keep all records of all efforts made to preserve and divest the

Divestiture Assets until one year after such divestiture has been completed.




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                                 X. COMPLIANCE INSPECTION

       A.      For the purposes of determining or securing compliance with this Final Judgment,

or of any related orders such as any Hold Separate Stipulation and Order, or of determining

whether the Final Judgment should be modified or vacated, and subject to any legally recognized

privilege, from time to time authorized representatives of the United States Department of

Justice, including consultants and other persons retained by the United States, shall, upon written

request of an authorized representative of the Assistant Attorney General in charge of the

Antitrust Division, and on reasonable notice to defendants, be permitted:

               (1) access during defendants’ office hours to inspect and copy, or at the option of

                   the United States, to require defendants to provide hard copies or electronic

                   copies of, all books, ledgers, accounts, records, data, and documents in the

                   possession, custody, or control of defendants, relating to any matters

                   contained in this Final Judgment; and

               (2) to interview, either informally or on the record, defendants’ officers,

                   employees, or agents, who may have their individual counsel present,

                   regarding such matters. The interviews shall be subject to the reasonable

                   convenience of the interviewee and without restraint or interference by

                   defendants.

       B.      Upon the written request of an authorized representative of the Assistant Attorney

General in charge of the Antitrust Division, defendants shall submit written reports or responses

to written interrogatories, under oath if requested, relating to any of the matters contained in this

Final Judgment as may be requested.




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       C.      No information or documents obtained by the means provided in this section shall

be divulged by the United States to any person other than an authorized representative of the

executive branch of the United States, except in the course of legal proceedings to which the

United States is a party (including grand jury proceedings), or for the purpose of securing

compliance with this Final Judgment, or as otherwise required by law.

       D.      If at the time information or documents are furnished by defendants to the United

States, defendants represent and identify in writing the material in any such information or

documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal

Rules of Civil Procedure, and defendants mark each pertinent page of such material, “Subject to

claim of protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then the

United States shall give defendants ten (10) calendar days’ notice prior to divulging such

material in any legal proceeding (other than a grand jury proceeding).

                                    XI. NO REACQUISITION

       Disney may not reacquire any of the Divestiture Assets during the term of this Final

Judgment without prior written approval of the United States.

                            XII. RETENTION OF JURISDICTION

       This Court retains jurisdiction to enable any party to this Final Judgment to apply to this

Court at any time for further orders and directions as may be necessary or appropriate to carry

out or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and

to punish violations of its provisions.

                       XIII. ENFORCEMENT OF FINAL JUDGMENT

       A.      The United States retains and reserves all rights to enforce the provisions of this

Final Judgment, including its right to seek an order of contempt from this Court. Defendants




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agree that in any civil contempt action, any motion to show cause, or any similar action brought

by the United States regarding an alleged violation of this Final Judgment, the United States may

establish a violation of the decree and the appropriateness of any remedy therefor by a

preponderance of the evidence, and they waive any argument that a different standard of proof

should apply.

       B.       The Final Judgment should be interpreted to give full effect to the procompetitive

purposes of the antitrust laws and to restore all competition harmed by the challenged conduct.

Defendants agree that they may be held in contempt of, and that the Court may enforce, any

provision of this Final Judgment that, as interpreted by the Court in light of these procompetitive

principles and applying ordinary tools of interpretation, is stated specifically and in reasonable

detail, whether or not it is clear and unambiguous on its face. In any such interpretation, the

terms of this Final Judgment should not be construed against either party as the drafter.

       C.       In any enforcement proceeding in which the Court finds that the defendants have

violated this Final Judgment, the United States may apply to the Court for a one-time extension

of this Final Judgment, together with such other relief as may be appropriate. In connection with

any successful effort by the United States to enforce this Final Judgement against a Defendant,

whether litigated or resolved prior to litigation, that Defendant agrees to reimburse the United

States for any attorneys’ fees, experts’ fees, and costs incurred in connection with that

enforcement effort, including the investigation of the potential violation.

                         XIV. EXPIRATION OF FINAL JUDGMENT

       Unless this Court grants an extension, this Final Judgment shall expire seven (7 years

from the date of its entry, except that this Final Judgment may be terminated upon notice by the




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United States to the Court and the defendants that the divestitures have been completed and that

the continuation of the Final Judgment no longer is necessary.

                        XV. PUBLIC INTEREST DETERMINATION

       Entry of this Final Judgment is in the public interest. The parties have complied with the

requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making

copies available to the public of this Final Judgment, the Competitive Impact Statement, and any

comments thereon, and the United States’ responses to comments. Based upon the record before

the Court, which includes the Competitive Impact Statement and any comments and responses to

comments filed with the Court, entry of this Final Judgment is in the public interest.




 Date: _____________________                         Court approval subject to procedures of
                                                     Antitrust Procedures and Penalties Act,
                                                     15 U.S.C. § 16



                                                     Hon. Colleen McMahon
                                                     Chief U.S. District Judge




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United States v. The Walt Disney Company et al., 18 Civ. 5800 (CM) (KNF)

                       Exhibit B
              Certificate of Compliance
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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                       Plaintiff,
                                                          18 Civ. 5800 (CM) (KNF)
                v.

 THE WALT DISNEY COMPANY, and
 TWENTY-FIRST CENTURY FOX, INC.,

                       Defendants.



                CERTIFICATE OF COMPLIANCE WITH PROVISIONS
              OF THE ANTITRUST PROCEDURES AND PENALTIES ACT

       Plaintiff United States of America, by the undersigned attorney, hereby certifies that, in

compliance with the Antitrust Procedures and Penalties Act (“APPA”), 15 U.S.C. § 16(b)-(h),

the following procedures have been followed in preparation for the entry of the final judgment in

the above-captioned matter herein:

       1. The Complaint, proposed Final Judgment, and Hold Separate Stipulation and Order

           (“Hold Separate”), by which the parties have agreed to the Court’s entry of the Final

           Judgment following compliance with the APPA, were filed with the Court on June

           27, 2018. The United States filed its Competitive Impact Statement (“CIS”) with the

           Court on August 7, 2018.

       2. As required by 15 U.S.C. § 16(b), the proposed Final Judgment and CIS were

           published in the Federal Register on August 15, 2018, see 83 Fed. Reg. 40,553

           (2018).
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3.   As required by 15 U.S.C. § 16(c), a summary of the terms of the proposed Final

     Judgment and CIS was published in the following general circulation newspapers:

     The Washington Post, in the District of Columbia, for seven days, from August 13,

     2018, through August 19, 2018, and The New York Times, in New York, for seven

     days, from August 13, 2018, through August 19, 2018.

4. Pursuant to 15 U.S.C. § 16(b), copies of the Hold Separate, proposed Final Judgment,

     Complaint, and CIS were furnished to all persons requesting them and made available

     on the Department of Justice, Antitrust Division’s website.

5. As noted in the CIS, there were no determinative materials or documents within the

     meaning of 15 U.S.C. § 16(b) that the United States considered in formulating the

     proposed Final Judgment, so none were furnished to any person pursuant to 15 U.S.C.

     § 16(b) or listed pursuant to 15 U.S.C. § 16(c).

6. As required by 15 U.S.C. § 16(g), The Walt Disney Company and Twenty-First

     Century Fox, Inc., on September 12, 2018, filed with the Court their respective

     descriptions of written or oral communications by or on behalf of the defendants, or

     any other person, with any officer or employee of the United States concerning the

     proposed Final Judgment.

7. The sixty-day comment period prescribed by 15 U.S.C. §16(b) and (d) for the receipt

     and consideration of written comments, during which the proposed Final Judgment

     could not be entered, commenced on August 19, 2018, and ended on October 18,

     2018. During that period, the United States received one comment on the proposed

     settlement.




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      8. As required by 15 U.S.C. § 16(d), the United States filed a Response to Comment on

          April 5, 2019, and published the comment, along with the United States’ response, in

          the Federal Register, see 84 Fed. Reg. 17,425 (2019).

      9. The parties have now satisfied all the requirements of the Antitrust Procedures and

          Penalties Act, 15 U.S.C. § 16(b)-(h), as a condition for entering the proposed Final

          Judgment, and it is now appropriate for the Court to make the necessary public

          interest determination required by 15 U.S.C. § 16(e) and to enter the proposed Final

          Judgment.


Dated: September 4, 2019


                                                     Respectfully submitted,



                                                      /s/ Lauren G.S. Riker____
                                                     Lauren G.S. Riker
                                                     Trial Attorney
                                                     Antitrust Division
                                                     U.S. Department of Justice
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